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                                                    Hearing Date: July 12, 2007, 1:30 p.m.
                                                    Objection Deadline: July 5, 2007, 4:00 p.m.




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

In Re:

WINN-DIXIE STORES, INC., et al.,                    Case No. 3:05-bk-03817-3F1
                                                    Chapter 11 (Jointly Administered)
            Debtor.
______________________________________/

                                   NOTICE OF HEARING

TO PARTIES IN INTEREST:

         PLEASE TAKE NOTICE that a hearing is scheduled for July 12, 2007 at 1:30 p.m.

(prevailing Eastern Time), before the Honorable Jerry A. Funk, United States Bankruptcy

Judge for the Middle District of Florida, 300 North Hogan Street, Courtroom 4D, Jacksonville,

Florida 32202, to consider Catamount LS-KY’s Amended Motion for Payment by Winn-Dixie

Raleigh, Inc. of Postpetition Administrative Claim with Respect to Store Nos. 1673 and 1676

(the “Catamount Motion”)(Docket No. 11645).

         Only objections filed and served on C. Daniel Motsinger at cmotsinger@kdelgal.com,

Krieg DeVault LLP, One Indiana Square, Suite 2800, Indianapolis, IN 46204-2079 and Adam

Frisch at afrisch@hilawfirm.com, Held & Israel, 1301 Riverplace Blvd., Suite 1916,

Jacksonville, Florida 32207 so as to be received by 4:00 p.m. (prevailing Eastern Time) on

July 5, 2007, will be considered by the Bankruptcy Court at the hearing. If no objection is

timely filed, the relief requested in the Catamount Motion may be granted without a hearing.

         You are reminded that Local Rule 5072(b)(16) requires that all persons appearing in

Court should dress in appropriate business attire consistent with their financial abilities. Among
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other things, a coat and tie are appropriate for a man; a dress or pants suit is appropriate for a

woman.

        You are further reminded that pursuant to Local Rule 5073-1, cellular telephones are

prohibited in the Courthouse as are computers, absent a specific order by the Court authorizing

the use of a computer. Please take notice that as an additional security measure a photo ID is

required for entry into the Courthouse.

Dated: June 22, 2007                         Respectfully submitted,

                                             __/s/ C. Daniel Motsinger_______________
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                                             -and-

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                                             Attorneys for Catamount LS-KY, LLC, a Nevada
                                             limited liability company, as assignee of Helene
                                             Funk and Peter W. Merner, as nominee for John H.
                                             O. La Gatta, as successor to Flask Corporation
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